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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re:                                                      Chapter 7

 BMT Designers & Planners, Inc.,                             Case No. _____


                               Debtor.


                          CORPORATE OWNERSHIP STATEMENT

          In accordance with Rules 1007(a)(l) of the Federal Rules of Bankruptcy Procedure, BMT

 Designers & Planners, Inc., on behalf of itself as debtor in the above-captioned chapter 7 case

 (the "Debtor"), respectfully represents:


             I. I 00% of BMT Designers & Planners Inc., a New York corporation is directly
                owned by Technology Financing Inc., a Delaware Corporation;

             2. I 00% of Technology Financing Inc., is directly owned by BMT International Inc.,
                a Ma1yland Corporation;

             3. 100% of BMT International Inc., is directly owned by BMT Group Ltd., a United
                Kingdom Corporation.

 DECLARATION UNDER PENALTY OF PERJURY:


                   I, the undersigned authorized Designated Person on behalf of the Debtor, declare
 under penalty of pe1jury that I have read the foregoing Corporate Ownership Statement and that
 the list is true and correct to the best of my information and belief.


 Date: February 1, 2022
                                                     By: Riclcy Cox
                                                     President
